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                                      November 10, 2020

VIA ECF

The Honorable Loretta A. Preska
District Court Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Giuffre v. Maxwell, Case No. 15-cv-7433-LAP

Dear Judge Preska,

        Plaintiff writes concerning the Court’s August 26 and 27, 2020, orders regarding the next
steps in the Court’s individualized review of the sealed materials, and deadlines set forth in the
Order and Protocol for Unsealing Decided Motions (the “Protocol”). Dkts. 1107, 1108.

   A. Deadlines as to the Next Set of Motions

        The Court’s August 27 order provided: “The Court will continue to review motions for
Does 1 and 2 in chronological order. The Court will next review docket entries 231, 279, 315,
320, and 335, as well as documents relevant to those motions.” Dkt. 1107 ¶ 1. Pursuant to the
Court’s orders (Dkt. 1107 ¶ 7; Dkt. 1133), Plaintiff served Doe 1 with Excerpts at his/her new
address on October 22, 2020, and Does 1 and 2 did not submit any Non-Party Objections by their
November 5, 2020, deadline. As such, under the Protocol any Party Objection to the materials
related to docket entries 231, 279, 315, 320, and 335 is due on November 12, 2020, and any
oppositions to such objections are due on November 19, 2020. See Dkt. 1108 ¶ 2f (providing that
“the Original Parties shall have 7 days from the date on which the Non-Party’s time to object
expires to submit an objection to unsealing and an accompanying memorandum. Any opposition
to such an objection shall be filed within 7 days”).

   B. Notification of Non-Parties

        The Court’s August 27 order also provided: “The Original Parties shall send the Non-Party
Notice to all remaining Non-Parties.” Dkt. 1107 ¶ 2. As Plaintiff explained in making this
suggested edit to the Protocol, providing notice to all remaining Non-Parties speeds up the
unsealing process by minimizing the number of Non-Party names that need to be redacted from
future materials that are unsealed, and will provide greater clarity on exactly how many Non-
Parties intend to participate in the unsealing process. Dkt. 1099.

        The parties have sent the Non-Party Notice to the remaining Non-Parties, have worked
diligently to respond to requests for Excerpts, and are on track to complete serving Excerpts by
the end of the month. As of this date, seven Non-Parties submitted Objections on November 2, 5,
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and 6, 2020. Because the Court is still deciding the motions for Does 1 and 2 at this time, Plaintiff
understands that any oppositions to those Non-Party Objections are not due until 7 days after the
Court indicates that it will review sets of motions for those Does. Proceeding this way allows the
Court to continue to review materials on a “Doe-by-Doe” basis, and will prevent the Court from
having to resolve Non-Party Objections out of order. See Dkt. 1053 (May 1, 2020, order explaining
that the Court is “amenable to unsealing portions of documents mentioning non-parties rather than
waiting to unseal the entirety of a given document until all non-parties have provided input” and
that [t]his will hopefully allow the materials to be unsealed on a rolling basis and at a rate somewhat
coextensive with that of the review process”). 1

        The parties conferred, and Defendant agrees with Plaintiff’s positions set forth above.
Defendant also contends, however, that the Court should not consider whether to release any Non-
Party’s name other than Does 1 and 2 in the next set of motions. Plaintiff disagrees with this
interpretation, as the entire point of sending the Non-Party Notice to all remaining Non-Parties
was to expedite the review process by minimizing the number of redactions applied at each round
and allowing the Court to have more clarity on which Non-Parties were actually objecting to the
information being unsealed. See Dkt. 1099 at 1 (“Having a list of Non-Parties who have not
requested Excerpts (and who therefore do not intend to object to unsealing) will also be
exceedingly helpful to the Original Parties tasked with redacting the names of Non-Parties who
have not yet had the opportunity to object to unsealing.”). The names of all Non-Parties whose
deadlines to object have passed, and who failed to file an objection, should therefore be unsealed
if and when the Court overrules Maxwell’s forthcoming objections.



                                               Sincerely,

                                               /s/ Sigrid McCawley
                                               Sigrid S. McCawley, Esq.


       cc: Counsel of Record (via ECF)




1
 If this interpretation of the Protocol is mistaken, Plaintiff respectfully requests 14 days to
submit oppositions to the Non-Party Objections served to date.
                                                  2
